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                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

UNITED STATES OF AMERICA                 )
                                         )
v.                                       )           NO. 3:11-cr-12 (21)
                                         )           JUDGE WISEMAN
                                         )
CORNELL OLIVER (21)                      )




                                          MOTION TO JOIN


       Defendant Cornell Oliver hereby moves this Honorable Court for leave to Join DE 744 and DE

745. As grounds therefore, Counsel would state that Defendant Oliver is similarly situated with his co-

defendants and the same facts and analysis applicable to Defendant Olive apply equally to him as they

do with the co-defendants identified in DE’s 744 and 745




                                                            //Signed//_____________
                                                            R. Lance Miller
                                                            Counsel for Cornell Oliver




                                             Certificate of Service
I hereby certify that on April 25, 2012, I electronically filed the foregoing Motion with the clerk of the
Court by using the CM/ECF system which will send a Notice of Electronic Filing to AUSA Sunny
Koshy, 110 Ninth Avenue South, Suite A-961, Nashville, Tennessee 37203; along with the other parties
in this case as listed to be noticed in the CM/ECF system.

                                                            //Signed//_____________
                                                            R. Lance Miller
                                                            Counsel for Cornell Oliver




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